CaSe 2:O4-cr-20070-STA Document 81 Filed 08/01/05 Page 1 of 2

|N THE UNITED STATES D|STRICT COURT
FOF{ THE WESTEHN D|STR|CT OF TENNESSEE
WESTEFlN DlVIS|ON

Page|D 91

 

UN|TED STATES OF AMER|CA,
P|aintiff,

VS.

       

‘ .'\|_
,. l _
r'_) U!

CR. NO. 04-20070-B

W|LL|A|V| NEV|LLES,

Detendant.

.1
'4, =

 

ORDER ON CONT|NUANCE AND SPECIFY|NG PER|OD OF EXCLUDABLE DELAY

AND SETT|NG

 

This cause came on for a report date on Ju|y 25, 2005. At that time, counsel for the

defendant requested a continuance of the August 1, 2005 trial date in order to allow for

additional preparation in the case.

The Court granted the request and reset the trial date to September 6, 2005 with a

re ort date of Monda Au ust 29 2005 at 9:30 a.m., in Courtroom 1. 11th F|oor of the

 

Federa| Bui|ding, Niemphis, TN.

The period from August 12, 2005 through September 16, 2005 is excludable under
18 U.S.C. § 3161(h)(8)(B)(iv) because the ends of justice served in allowing for additional

time to prepare outweigh the need t£r a spe d tria|.
|T |S SO OFlDEFtED this l day§:S,ZOOS.

 

. D NIEL BREEN \
uNi ED sTATEs olsTRicT JuDeE

Tnis document enters 5
with Ruie 55 and/or 32ip) FltCrP on

d on the docl<et§

0&:‘€¥ itt ;Oi'itp».'ciiaoe

Z/OS

. . 1 ll Ul` l
' r-tt;l,iP:~rg

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 81 in
case 2:04-CR-20070 Was distributed by faX, mail, or direct printing on
August 2, 2005 to the parties listed.

 

Eric Scott Hall
WAGERMAN LAW FIRM
200 Jefferson Ave.

Ste. 13 13

Memphis7 TN 38103

Jennifer lawrence Webber
U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

